      Case 1-24-41125-ess             Doc 12       Filed 03/20/24      Entered 03/20/24 12:29:42



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re:                                                               Case No. 1-24-41125-ESS
                                                                     Chapter 11
    Fraleg Jefferson Corp.
    dba Fraleg Quincy Corp
    dba 931 Lincoln Place Corp
                                  Debtor
---------------------------------------------------------X
                NOTICE OF MOTION FOR AN ORDER PURSUANT TO
   11 U.S.C. § 362(d) GRANTING IN REM RELIEF FROM THE AUTOMATIC STAY
PLEASE TAKE NOTICE that a hearing, a telephonic or video conference, will be held to
consider the motion of Wilmington Savings Fund Society, FSB, as Owner Trustee of the
Residential Credit Opportunities Trust VIII-B, by its attorney Sherri J. Smith, for an order
pursuant to Rule 9014 of the Federal Rules of Bankruptcy Procedure (i) granting In Rem relief
from the automatic stay, imposed by 11 U.S.C. § 362(a) pursuant to FRBP 4001, 11 U.S.C. §§
105(a), and 362(d)(1) and 362(d)(1), permitting Movant leave to take any and all action under
applicable state law to exercise its remedies against the property located at 15 Jefferson Avenue,
Brooklyn, NY 11238 (hereinafter the "Property"); (ii) granting $1050.00 in reasonable attorney's
fees and $199.00 for the filing fee necessary to bring the Motion; and (iii) for such other further
and different relief as may seem just, proper and equitable.
PLEASE TAKE FURTHER NOTICE, that any party that wishes to appear at the Hearing is
required to register in advance of the Hearing by using the Court’s eCourt Appearances, which
can be located at: https://www.nyeb.uscourts.gov/registering-remote-hearing-appearance-using-
ecourt-appearances.
The hearing will be held before this Court as set forth below:

              U.S. Bankruptcy Judge:              Honorable Elizabeth S. Stong


                      U.S. Courthouse:            U.S. Bankruptcy Courthouse
                                                  Conrad B. Duberstein U.S. Courthouse
                                                  271-C Cadman Plaza East
                                                  Brooklyn, NY 11201-1800

                Return Date and Time:             April 11, 2024 at 10:30 am

Dated: March 20, 2024                             Pincus Law Group, PLLC
       Uniondale, New York
                                                  By:        /s/ Sherri J. Smith
                                                             Sherri J. Smith
                                                             Attorneys for Movant
                                                             425 RXR Plaza
                                                             Uniondale, New York 11556
                                                             (516) 699-8902
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                          AFFIRMATION IN SUPPORT OF
                 MOTION FOR IN REM RELIEF FROM AUTOMATIC STAY

                 Sherri J. Smith, an attorney admitted to practice before the Eastern District of New

York Bankruptcy Court, hereby affirms under penalty of perjury that:

                 1.       I am an associate with the firm of Pincus Law Group, PLLC, the attorneys

for Wilmington Savings Fund Society, FSB, as Owner Trustee of the Residential Credit

Opportunities Trust VIII-B (hereinafter, "Movant"). I am familiar with the facts set forth herein

based upon information and documentation supplied to me by Movant. I make this affirmation in

support of the motion of Movant for an In Rem Order: (i) pursuant to 11 U.S.C. § 362(d) providing

that the automatic stay imposed by 11 U.S.C. § 362(a) be modified and terminated to permit

Movant, its successors, agents, or assigns, to pursue their rights under the Note and Mortgage, as

more particularly described in the Motion, and under applicable law, including, without limitation,

the consummation of foreclosure proceedings with respect to the premises located at 15 Jefferson

Avenue, Brooklyn, NY 11238 (hereinafter, the "Property") by virtue of Rules 4001 and 9014 of

the Federal Rule of Bankruptcy Procedure and § 362(d)(1) and § 362(d)(2) of the Bankruptcy

Code; (ii) granting $550.00 in reasonable attorney's fees and $199.00 for the filing fee necessary
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to bring the Motion, and (iii) granting Movant such other further and different relief as may seem

just, proper and equitable.

                2.     The Court has jurisdiction pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b).

               3.     Fraleg Jefferson Corp. (the "Debtor") for the purpose of securing to TAM

Lending Center, Inc. (hereinafter, the "Original Mortgagee") payment of the principal sum of

$1,800,900.00, with interest thereon, on or about December 10, 2019 for a valuable consideration,

executed and delivered to the Original Mortgagee a note dated on that day (hereinafter "Note"),

whereby the Debtor undertook and promised to pay to the Original Mortgagee the principal sum

and interest thereon at the rate provided for therein. The Note is annexed hereto as Exhibit "A".

               4.     As collateral security for the payment of indebtedness, the Debtor executed

and delivered to the Original Mortgagee a mortgage (hereinafter "Mortgage") dated December 10,

2019, and recorded in the office of the City Register of the City of New York, State of New York

on January 6, 2020 in CRFN: 2020000003494. The Mortgage is annexed hereto as Exhibit "B".

               5.     The Note was delivered to Movant. See Exhibit "A".

               6.     The Mortgage was assigned to WILMINGTON SAVINGS FUND

SOCIETY, FSB, AS OWNER TRUSTEE OF THE RESIDENTIAL CREDIT OPPORTUNITIES

TRUST VIII-B, by Assignment of Mortgage dated October 5, 2023, recorded in the City Register

of the City of New York, State of New York on November 13, 2023 in CRFN: 2023000293710.

See: Exhibit "C".

               7.     Movant is the present owner and holder of the Note and Mortgage on the

Property.

               8.     The Mortgage constitutes a lien upon the Property.
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                9.     The Debtor defaulted under the Note and Mortgage by failing to timely pay

the payment due on or before March 1, 2020, and the default is continuing.

                10.    The final payment on the Note and Mortgage was due in January of 2021,

and therefore the Note and Mortgage matured and was due to be paid in full in January of 2021.

                11.    Movant, as holder of the Note and Mortgage, commenced a foreclosure

action with respect to the Note and Mortgage and desires to continue its action to foreclose upon

the Mortgage.

                 12.   On March 14, 2024, the Debtor filed the instant voluntary petition for relief

with the Court pursuant to Chapter 11 of the Bankruptcy Code. By reason of the Debtor having

filed the Petition, Movant, the holder of the Note and Mortgage, is presently stayed from

proceeding with any action under applicable state law to exercise its remedies against the Property.

                 13.   Previously, on October 9, 2023, the Debtor, filed a voluntary petition for

relief with the Court pursuant to Chapter 11 of the Bankruptcy Code, Docket No. 23-43087. This

bankruptcy was subsequently dismissed on November 17, 2023 for Debtor’s failure to be

represented by Counsel and the case was terminated on December 8, 2023.

                 14.   On December 8, 2022 the Debtor filed a voluntary petition for relief with the

Court pursuant to Chapter 11 of the Bankruptcy Code, Docket No. 22-43064. This bankruptcy was

subsequently dismissed on October 13, 2023, and terminated on January 18, 2024. The Movant’s

predecessor filed a Motion for Relief from the Stay on February 16, 2023 with respect to the subject

property, which was granted by the Court on June 20, 2023. An Amended Order Granting Relief

was entered on October 13, 2023. The Bankruptcy Dockets are attached hereto as Exhibit “D”.
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               15.    Annexed hereto as Exhibit "E" is the In Rem Relief from Stay - Real Estate

and Cooperative Apartments (the "Bankruptcy Worksheet"), as required by General Order 347 of

this Court.

               16.    Movant should be granted In-Rem relief from the Automatic Stay due to the

Debtor’s multiple bankruptcy filings affecting the real property which establishes sufficient cause

to grant it In Rem relief from the Automatic Stay, 11 U.S.C. § 362(d)(4). The actions of the Debtor

and the has caused Movant significant delay in proceeding with the foreclosure action in state court

since 2022. Specifically, foreclosure sales were previously scheduled for December 8, 2022,

October 19, 2023 and March 14, 2024 which were stayed by the Debtor’s bankruptcy filings.



                          THERE IS NO EQUITY IN THE PREMISES

               17.     The amount due on the Note and Mortgage as of the date of the petition of

March 14, 2024 is $5,544,080.90. According to Debtor’s Schedule D the fair market value of the

property is $2,350,000.00.

               18.     Therefore, the Movant is entitled to In-Rem relief from the automatic stay

because the elements of § 362(d)(2) are met. No equity remains in the Premises because the

outstanding obligation owed to the Movant exceeds the value of the Premises and the Premises is

not necessary to an effective reorganization as this is a Chapter 11 case. § 362 (d)(2) provides that

the automatic stay should be terminated where the Debtor does not have any equity in such

property and such property is not necessary to an effective reorganization.

               19.    It is respectfully submitted that cause exists to vacate the automatic stay as

the Debtors are in default under the terms and provisions of the Note and Mortgage. The

Movant’s interest in the Premises would not be adequately protected should the automatic stay
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remain in place, the Debtor has no equity in the property and the property is not necessary to an

effective reorganization.



                                            CONCLUSION

                20.     As a result of the Debtor’s default on the Note and Mortgage, Movant has

been required to protect its security interest by the filing of this Motion and is therefore entitled to

the attorney’s fees and costs of this Motion. Moreover, the mortgage held by Movant provides that

the Debtor shall pay to it all sums expended by it due to the default, including reasonable attorney's

fees. Movant has expended the following sums in relation to the Motion: $1050.00 in reasonable

attorney’s fees and a $199.00 filing fee.

                21.     It is evident from all of the above that the Movant is entitled to In Rem relief

from the Automatic Stay. Accordingly, Movant requests that the Proposed Order, annexed hereto

as Exhibit "F", be signed as submitted and entered on the docket. The Proposed Order was served

on all interested parties.

                WHEREFORE, it is respectfully requested that an Order be issued vacating the

Automatic Stay by virtue of 11 U.S.C. § 362(d)(1) and 11 U.S.C. § 362(d)(2) as to Movant;

granting Movant, its agents, assigns or successors in interest leave to take any and all action under

applicable state law to exercise its remedies against the Property; granting attorney fees and costs;

and for such other further and different relief as may seem just, proper and equitable.

Dated: March 20, 2024                                   PINCUS LAW GROUP, PLLC
       Uniondale, NY
                                                        By:/s/ Sherri J. Smith
                                                        Sherri J. Smith
                                                        Attorneys for Movant
                                                        425 RXR Plaza
                                                        Uniondale, New York 11556
                                                        (516) 699-8902
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                                           FRCP 55 AFFIDAVIT

        I am an associate in the firm of Pincus Law Group, PLLC, the attorneys for the Movant

Wilmington Savings Fund Society, FSB, as Owner Trustee of the Residential Credit Opportunities

Trust VIII-B, and am admitted to practice before this Court. I represent that upon information

and belief, the Debtor is a corporation and not eligible for military duty.



Dated: March 20, 2024                                               PINCUS LAW GROUP, PLLC
       Uniondale, New York                                   By:    /s/ Sherri J. Smith
                                                                    Sherri J. Smith
                                                                    Attorneys for Movant
                                                                    425 RXR Plaza
                                                                    Uniondale, New York 11556
                                                                    (516) 699-8902
